           Case 1:18-cr-00319-LTS Document 299 Filed 10/13/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 18 CR 319-LTS

YASMIL FERTIDES et al.,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER

                 Defense counsel who were appointed pursuant to the Criminal Justice Act

(“CJA”) are directed to contact Alan Nelson, the CJA budgeting attorney, at

Alan_Nelson@ca2.uscourts.gov promptly to formulate budgets, if they have not already done so.

        SO ORDERED.

Dated: New York, New York
       October 13, 2020

                                                                      _/s Laura Taylor Swain___
                                                                      LAURA TAYLOR SWAIN
                                                                      United States District Judge




FERTIDES - ORD RE CJA BUDGETING.DOCX                       VERSION OCTOBER 13, 2020                  1
